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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                            Case No. 8:05-cv-533-T-24TGW

IRENO LUIS DELGADO
____________________________/

                                             ORDER

       This cause comes before the Court on Defendant Kitchen’s Motion to Quash Defendant

Delgado’s Trial Subpoena (Doc. No. 147). Defendant Kitchen was indicted in this case and has

pled guilty to the two counts in the Indictment that apply to her. The Court has adjudicated

Defendant Kitchen guilty, but she has not yet been sentenced, as her sentencing is set for

October 12, 2006. Therefore, Defendant Kitchen moves to quash the subpoena served upon her

by Defendant Delgado due to her right to assert her Fifth Amendment privilege against self-

incrimination.

       Upon consideration, it is ORDERED AND ADJUDGED that the motion is DENIED.

However, prior to Defendant Kitchen testifying, the Court will allow Defendant Delgado to

proffer the questions to be asked at trial, and at that time, the Court will determine whether the

Court will sustain Defendant Kitchen’s invocation of the Fifth Amendment privilege. See U.S.

v. Kuku, 129 F.3d 1435, 1438 (11th Cir. 1997)(recognizing “that a defendant retains the Fifth

Amendment privilege against self-incrimination prior to sentencing, despite having entered a

guilty plea, because of the possible impact that compelled testimony may have on the defendant's

as yet undetermined sentence”).
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      DONE AND ORDERED at Tampa, Florida, this 14th day of August, 2006.




Copies to:
Counsel of Record
